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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY
                                NEWARK DIVISION

                                               Case No.:
LISA PARKER,
             Plaintiff,                        COMPLAINT AND DEMAND FOR
                                               JURY TRIAL
        v.
                                                  1. TCPA, 47 U.S.C. § 227

PAYPAL, INC.,
             Defendant.



                   COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, Lisa Parker, (“Plaintiff”), through her attorneys, alleges the following

against Defendant, PayPal, Inc., (“Defendant”):

                                   INTRODUCTION

   1.   Count I of Plaintiff’s Complaint is based upon the Telephone Consumer Protection

        Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that broadly

        regulates the use of automated telephone equipment. Among other things, the

        TCPA prohibits certain unsolicited marketing calls, restricts the use of automatic

        dialers or prerecorded messages, and delegates rulemaking authority to the Federal

        Communications Commission (“FCC”).

                             JURISDICTION AND VENUE

   2.   Jurisdiction of the Court arises under 47 U.S.C. §227 et seq. and 28 U.S.C. 1331.



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 3.   Venue is proper pursuant to 28 U.S.C. 1391(b)(2) in that a substantial part of the

      events or omissions giving rise to the claim occurred in this District.

 4.   Defendant transacts business here, therefore, personal jurisdiction is established.

                                        PARTIES

 5. Plaintiff is a natural person residing in Bergenfield, Bergen County, New Jersey.

 6. Defendant, PayPal, Inc., is an online payments system website that supports online

      money transfers and also provides a line of credit to make purchases. Defendant’s

      principal place of business is located in San Jose, California. Defendant can be

      served with process to CT Corporation System at 818 W Seventh St, Ste 930, Los

      Angeles, CA 90017.

 7. Defendant acted through their agents, employees, officers, members, directors,

      heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives,

      and insurers.

                             FACTUAL ALLEGATIONS

 8.   Defendant is attempting to collect a debt from Plaintiff.

 9.   In or around August 2017, Defendant began placing calls to Plaintiff’s cellular

      phone number (845) 653-6554, in an attempt to collect an alleged debt.

 10. The calls mainly originated from: (888) 393-7163, (866) 380-6582, and (888) 334-

      6220; upon information and belief, these numbers are owned or operated by

      Defendant. The list of phone numbers may not include other numbers Defendant

      may have made calls from.




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 11. On or about August 29, 2017, at 9:27 a.m., Plaintiff answered a call from

     Defendant originating from telephone number (888) 393-7163; Plaintiff heard a

     short pause before one of Defendant’s agents began to speak, indicating the use of

     an automated telephone dialing system.

 12. Defendant informed Plaintiff that it was calling in an attempt to collect a debt.

     During this phone call, Plaintiff unequivocally revoked consent to be contacted on

     her cellular phone any further.

 13. That request was ignored, and Plaintiff continued to receive phone calls from the

     Defendant throughout the months of September and October of 2017.

 14. On several occasions, Plaintiff received multiple phones calls on the same day

     from Defendant; On September 5, 2017, Plaintiff received five (5) phone calls

     from Defendant; On September 6, 2017, Plaintiff received four (4) phone calls

     from Defendant; On September 7, 2017, Plaintiff received six (6) phone calls from

     Defendant; On September 26, 2017, Plaintiff received seven (7) phone calls from

     Defendant. This list is not comprehensive as there are several more dates on which

     Plaintiff received multiple phone calls on the same day.

 15. The Federal Communications Commission (“FCC”) noted in its 2003 TCPA

     Order that a predictive dialer is “equipment that dials numbers and, when certain

     computer software is attached, also assists telemarketers in predicting when a sales

     agent will be available to take calls. The hardware, when paired with certain

     software, has the capacity to store or produce numbers and dial those numbers at




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     random, in sequential order, or from a database of numbers.” 2003 TCPA Order,

     18 FCC Rcd at 14091, para. 131.

 16. The FCC further explained that the “principal feature of predictive dialing

     software is a timing function, not number storage or generation.” Id.

 17. Finally, the FCC stated that “a predictive dialer falls within the meaning and

     statutory definition of ‘automatic telephone dialing equipment’ and the intent of

     Congress.’” Id. at 14091-92, paras. 132-133.

 18. Defendant attempted to predict when Plaintiff was available by calling her at 9:16

     a.m. (September 5, 2017), 9:40 a.m. (September 7, 2017), 9:45 a.m. (September

     8, 2017), 9:57 a.m. (September 9, 2017), and 9:04 a.m. (September 12, 2017).

 19. Defendant attempted to predict when Plaintiff was available by calling her at 12:40

     p.m. (September 6, 2017), 12:16 p.m. (September 7, 2017), 12:38 p.m. (September

     8, 2017), 12:45 p.m. (September 9, 2017), and 12:23 p.m. (September 12, 2017).

 20. The constant phone calls from Defendant has caused Plaintiff emotional distress as

    the phone would ring multiple times a day and continue to ring even after Plaintiff’s

    request to stop calling.

 21. Plaintiff works at the hospital and she would receive several calls a day while

    working. The phone calls were extremely disruptive during her work day and

    would interrupt her while she was with patients.

 22. Plaintiff is required to keep her phone with her at all times to communicate with

    doctors, and Defendant’s constant phone calls on a daily basis would disrupt her

    work.


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 23. Moreover, Plaintiff has two (2) young children and Defendant would call Plaintiff

    early in the morning and disrupt her children’s sleep.

 24. Defendant even called Plaintiff on September 26, 2017 at 11:44 p.m. Defendant’s

    conduct would wake Plaintiff and her children early in the mornings and would not

    let them sleep late at night.

 25. The aggressive and harassing nature of the calls over the two (2) month period has

    made it difficult for Plaintiff to use her cellular phone without being worried about

    further calls from Defendant.

 26. Between September 2017 and October 2017, Defendant has contacted Plaintiff on

    her cellular phone approximately one-hundred fifty (150) times, despite Plaintiff

    revoking to be contacted on her cellular phone on August 29, 2017 at 9:27 a.m.

                                      COUNT I

                     (Violations of the TCPA, 47 U.S.C. § 227)

 27. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

     as though fully stated herein.

 28. Defendant violated the TCPA. Defendant’s violations include, but are not limited

     to the following:

        a) Within four years prior to the filing of this action, on multiple occasions,

           Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in

           pertinent part, “It shall be unlawful for any person within the United States .

           . . to make any call (other than a call made for emergency purposes or made

           with the prior express consent of the called party) using any automatic


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           telephone dialing system or an artificial or prerecorded voice — to any

           telephone number assigned to a . . . cellular telephone service . . . or any

           service for which the called party is charged for the call.

        b) Within four years prior to the filing of this action, on multiple occasions,

           Defendant willfully and/or knowingly contacted Plaintiff at Plaintiff’s

           cellular phone using an artificial prerecorded voice or an automatic telephone

           dialing system and as such, Defendant knowing and/or willfully violated the

           TCPA.

 29. As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled to an

     award of five hundred dollars ($500.00) in statutory damages, for each and every

     violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that Defendant

     knowingly and/or willfully violated the TCPA, Plaintiff is entitled to an award of

     one thousand five hundred dollars ($1,500.00) for each and every violation

     pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).



                              PRAYER FOR RELIEF

 WHEREFORE, Plaintiff, Lisa Parker, respectfully requests judgment be entered

 against Defendant, PayPal, Inc., for the following:

        A. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

           227(b)(3)(C);

        B. Awarding Plaintiff any pre-judgment and post-judgment interest as may be

           allowed under the law; and


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       C. Any other relief that this Honorable Court deems appropriate.

    RESPECTFULLY SUBMITTED,

    Dated: June 28, 2017                     By:   /s/ Alla Gulchina         .
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